                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                                 NO: 5:05CR21

UNITED STATES OF AMERICA,           )
          Plaintiff                 )
                                    )
vs.                                 )                                ORDER
                                    )
GRADY CHANDLER MCMANUS,             )
            Defendant.              )
                                    )
___________________________________ )

       THIS MATTER IS BEFORE THE COURT on a letter from Grady Chandler McManus,

dated October 30, 2005 and received by the Court on November 2, 2005 (the “Letter”) (Document

No. 29). In the Letter, Mr. McManus represents that he had been in a severe vehicle accident, in

which he suffered both brain damage and broken bones. Mr. McManus asks for medical treatment

for those injuries, which he contends have not healed properly. The undersigned has been informed

that – subsequent to the Court’s receipt of the Letter – Mr. McManus was transferred to a medical

facility where he is receiving appropriate care. As such, the undersigned will deny Mr. McManus’

request as moot.

       The undersigned notes that, in the Letter, Mr. McManus asks for another attorney on the basis

that his current attorney, Samuel Winthrop, had not taken any action to secure medical treatment for

Mr. McManus. Because the issue of medical treatment for Mr. McManus has been resolved, the

Court will not schedule an inquiry into the status of counsel at this time. If the Court needs to

conduct an inquiry into the status of counsel, Mr. McManus or Mr. Winthrop should notify the Court

of the same.

       IT IS, THEREFORE, ORDERED that the request for medical treatment, contained in the




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Letter (Document No. 29), is hereby DENIED AS MOOT.




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                      Signed: November 29, 2005




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